        Case 1:19-cv-02047-SCJ Document 155 Filed 08/26/22 Page 1 of 5




                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

KEITH EDWARDS as Guardian and       )
Conservator for JERRY BLASINGAME, )
                                    )
             Plaintiff,             )
                                    ) CIVIL ACTION
                                    ) FILE NO: 1:19-CV-2047-SCJ
v.                                  )
                                    )
OFFICER J. GRUBBS, #6416; and       )
CITY OF ATLANTA/ATLANTA             )
POLICE DEPT,                        )
                                    )
             Defendants.            )
____________________________________)

   CITY DEFENDANTS’ RENEWED MOTION FOR JUDGMENT AS A
        MATTER OF LAW PURSUANT TO FEDERAL RULE 50

      COME NOW, Defendants City of Atlanta and Officer J. Grubbs

(collectively, “City Defendants”) and herein renew their motions for judgment as a

matter of law pursuant to Rule 50. On August 24, 2022, the City Defendants moved

for judgment as a matter of law as to all of Plaintiffs’ claims. After the jury’s verdict,

the City Defendants renewed their motions orally. In accordance with the Court’s

Order, the City Defendants are filing the present pleading and request the Court’s

ruling granting the City Defendants’ motions.

                      [SIGNATURE ON FOLLOWING PAGE]

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    This the 26th day of August 2022.

                                            RESPECTFULLY SUBMITTED,

                                            /s/ Staci J. Miller
                                            STACI J. MILLER
                                            Attorney
                                            Georgia Bar No. 601594
                                            sjmiller@atlantaga.gov
                                            (404) 546-4083 direct
                                            Attorneys for City Defendants

CITY OF ATLANTA LAW DEPARTMENT
55 Trinity Avenue SW, Suite 5000
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Office: (404) 546-4100
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                                    )
             Plaintiff,             )
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OFFICER J. GRUBBS, #6416; and       )
CITY OF ATLANTA/ATLANTA             )
POLICE DEPT,                        )
                                    )
             Defendants.            )
____________________________________)

                               CERTIFICATION

      Counsel for the City Defendants hereby certifies that the foregoing has been

prepared with Times New Roman font, 14 point, and therefore it complies with the

requirements of L.R. 5.1(C).

                                            Respectfully Submitted,

                                            /s/ Staci J. Miller
                                            STACI J. MILLER
                                            Attorney
                                            Georgia Bar No. 601594
                                            Phone: 404-546-4083
                                            Email: sjmiller@atlantaga.gov
                                            Attorneys for City Defendants


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               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

KEITH EDWARDS as Guardian and        )
Conservator for JERRY BLASINGAME, )
                                     )
             Plaintiff,              )
                                     ) CIVIL ACTION
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v.                                   )
                                     )
OFFICER J. GRUBBS, #6416; and        )
CITY OF ATLANTA/ATLANTA              )
POLICE DEPT,                         )
                                     )
             Defendants.             )
____________________________________)
                        CERTIFICATE OF SERVICE

      This is to certify that I have this day served all parties with a copy of the

following:

      - CITY DEFENDANTS’ RENEWED MOTION FOR JUDGMENT
        AS A MATTER OF LAW PURSUANT TO FEDERAL RULE 50

via the CM/ECF Electronic Filing System upon all counsel of record.

      This 26th day of August, 2022.

                                            RESPECTFULLY SUBMITTED,

                                            /s/ Staci J. Miller
                                            STACI J. MILLER
                                            Attorney
                                            Georgia Bar No. 601594
                                            Phone: 404-546-4083
                                        4
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                                       Attorneys for City Defendants

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